          Case 18-14169-JDW            Doc 35      Filed 03/14/19       Entered 03/14/19 08:34:57           Desc
                                     IN THE UNITED STATES
                                                     Page BANKRUPTCY
                                                             1 of 1          COURT
                                            Northern District of Mississippi

IN THE MATTER OF:                                                               CASE NO.: 18-14169
CHRISTOPHER L HALL
SS#: XXX-XX-1375



                      ORDER UPON EMPLOYER DIRECTING DEDUCTIONS FROM PAY

IT APPEARING TO THE COURT that there is now pending a certain Chapter 13 Proceeding in which
the above-named DEBTOR subjected his earnings to the jurisdiction of the Court; the DEBTOR's principal
income is from wages, salary of commissions; and that the employer of the saidDEBTOR is subject to such
orders as may be requisite to effectuate the provisions of the plan proposed by the DEBTOR {with the employer
being directed to pay all or any part of such income to theTRUSTEE.
Bankruptcy Reform Act of 1978, Title 11, Section 1325 (b)}.

IT IS FURTHER APPEARING THAT it is requisite to effectuate the provisions of the DEBTOR's plan; that
the employer is directed to pay a portion of the DEBTOR's earnings to the Court for distribution to creditors
and that such employer is:

         ASHLEYS FURNITURE
         15900 HWY 15 NORTH
         ATTN: PAYROLL
         RIPLEY, MS 38663

IT IS ORDERED that until further notice of this Court, the above-named employer is required to deduct from
the DEBTOR's earnings and pay over to:

TERRE M. VARDAMAN                                 TERRE M. VARDAMAN
CHAPTER 13 TRUSTEE                                CHAPTER 13 TRUSTEE
P.O. BOX 1985                                        P.O. BOX 1326
MEMPHIS TN 38101-1985                              BRANDON MS 39043
PAYMENTS ONLY                           ALL OTHER CORRESPONDENCE


the sum of $123.00 WEEKLY .


FURTHER ORDERED, that the employer shall, as of this date, cease and discontinue to pay deductions,
including credit unions, of every kind except those required to be made for State or Federal Income Taxes,
Insurance, Social Security contributions or union dues.


DATED AT Aberdeen, MS on 03/14/2019




                                               / s / Jason D. Woodard

                                               Jason D Woodard
                                               BANKRUPTCY JUDGE

         KAREN B. SCHNELLER
         126 NORTH SPRING ST
         PO BOX 417
         HOLLY SPRINGS, MS 38635
